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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. LISA W. WANG, JUDGE
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                                                                      :
TARGET GENERAL MERCHANDISE, INC.
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                  Plaintiff,
                                                                      :
                                                                      :   Consol. Court No. 15-69
                  v.
                                                                      :
                                                                      :
UNITED STATES OF AMERICA
                                                                      :
                  Defendant.
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                   PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT




                                                      NEVILLE PETERSON LLP
                                                      Counsel for Plaintiff

                                                      John M. Peterson
                                                      Richard F. O’Neill
                                                      Patrick B. Klein
                                                      One Exchange Plaza
                                                      55 Broadway, Suite 2602
                                                      New York, NY 10006
                                                      (212) 635-2730
                                                      jpeterson@npwny.com
Dated: June 20, 2024
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UNITED STATES COURT OF INTERNATIONAL TRADE
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TARGET GENERAL MERCHANDISE, INC.
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                  Plaintiff,
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                                                                      :   Consol. Court No. 15-69
                  v.
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                                                                      :
UNITED STATES OF AMERICA
                                                                      :
                  Defendant.
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 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
               MOTION FOR SUMMARY JUDGMENT

         Plaintiff, Target General Merchandise, Inc. (“Target”), submits this Motion for Summary

Judgment pursuant to Rule 56 of the Rules of the United States Court of International Trade

(hereinafter “USCIT R.”), and respectfully moves this Court for an order granting summary

judgment in its favor, and awarding the relief sought in the Consolidated Complaint. See ECF 29.

Specifically, plaintiff submits that United States Customs and Border Protection (“CBP” or

Customs”), improperly classified its imported LED lamps in liquidation.

         Two distinct periods of time are involved in this consolidated action:

“PERIOD ONE” February 7, 2014, through March 28, 2014.

         During this period, CBP classified Target’s LED lamps in liquidation under the following

three subheadings:

        Subheading 9405.20.60, Harmonized Tariff Schedule of the United States (“HTSUS”), as

         “Electric table, desk, bedside or floor-standing lamps” of base metals other than brass, with

         a duty rate of 6% ad valorem;
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        Subheading 9405.20.80, HTSUS as “Electric table, desk, bedside or floor-standing lamps”

         of materials other than base metals, with a duty rate of 6% ad valorem;

        Subheading 9405.30.00, HTSUS as “Lighting sets of a kind used for Christmas trees,” with

         a duty rate of 8%; and

        Subheading 9405.40.60/9405.40.80. HTSUS as “Other electric lamps and lighting fittings”

         of base metals other than brass, and of materials other than base metals, with respective

         duty rates of 6%, and 3.9% ad valorem.

         As to goods made in this period, Target submits that the products are all properly

classifiable under one provision:

        Subheading 8543.70.70, HTSUS: an eo nomine provision covering “Electrical machines

         and apparatus, having individual functions, not specified or included elsewhere in this

         chapter; parts thereof: Other machines and apparatus; Electric luminescent lamps,” dutiable

         at 2% ad valorem.

         In Gerson Co. v. United States, 898 F.3d 1232 (Fed. Cir. 2018), the Court of Appeals for

the Federal Circuit, addressing the classification of certain battery-powered LED votive candles,

rejected classification under subheading 8543.70,70, HTSUS, based on the superior heading

language: “electrical machines and apparatus.” The Federal Circuit reasoned that:

          … it is “plausible” to read heading 8543 broadly as encompassing Gerson’s
         candles, at least in a “hyper-technical sense,” because the candles use electricity to
         operate and therefore arguably qualify as “electrical machines and apparatus”

898 F.3d at 1236. However, reading subheading 8543.70.70 in context with other provisions of

the tariff, the Federal Circuit held:

         If one were to read heading 8543 as covering Gerson’s candles, it would cover
         every electric lamp, because all such lamps use electricity to generate light. And,
         by operation of Note 1(f) [to Chapter 94, HTSUS], such lamps could not be
         classified under heading 9405. In other words, heading 9405 would be constrained

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       to only non-electric lamps. That reading, as the Trade Court noted, “would impose
       a specific, and drastic, limitation on the scope of heading 9405, HTSUS that the
       article description for that heading does not express or suggest.” Gerson, 254 F.
       Supp. 3d at 1278. In fact, such a reading would effectively remove electric
       “searchlights” and “spotlights” from heading 9405 even though those devices are
       expressly provided for in that heading. See HTSUS Hdg. 9405 (“Lamps and
       lighting fittings including searchlights and spotlights and parts thereof” (emphasis
       added)). We agree with the Trade Court, therefore, that Gerson’s candles do not fall
       within heading 8543.

Id. at 1237. The Federal Circuit’s concern appears not to be that other (non-LED) lights would be

classified in subheading 8543.70.70’s provision for “electric luminescent lamps,” but rather in the

“basket” provision for “other” electrical machines and apparatus” in 8543.70.96. Since Gerson,

the cadence of decisions in the United States and elsewhere has been that Chapter 85 covers

lighting components, but not finished lighting apparatus.

       As discussed herein, Target submits that some of the LED lights at bar are distinguishable

from those involved in Gerson, and are properly classified under subheading 8543.70.70, HTSUS.

       “PERIOD TWO” September 7, 2018, through October 12, 2018.

       The classification of LED lamps which Target imported in 2018 involves a different claim

and a different tariff provision which is not affected by the Gerson decision.

       Effective January 1, 2017, the World Customs Organization (“WCO”), as part of its five-

year review of the Harmonized System (“HS”) Nomenclature, created a new provision at

subheading 8539.50, HTSUS, covering “Electrical filament or discharge lamps, including sealed

beam lamp units and ultraviolet or infrared lamps; arc lamps; light-emitting diode (LED) lamps;

parts thereof: “Light emitting diode lamps.” The United States adopted this provision into its

HTSUS, assigning a rate of 2% ad valorem.

       During this second period—September 7, 2018, through October 12, 2018—CBP

classified Target’s imported LED lamps in liquidation under the following provisions:



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       Subheading 9405.30.00, HTSUS, as “Lighting sets of a kind used for Christmas trees,”

        with a duty rate of 8%;

       Subheading 9405.40.60, HTSUS as “Other electric lamps and lighting fittings: Of base

        metal: Other,” with a duty rate of 6%

       Subheading 9405.40.8410, HTSUS, as “Lamps and lighting fittings including searchlights

        and spotlights and parts thereof, not elsewhere specified or included; illuminated signs,

        illuminated nameplates and the like, having a permanently fixed light source, and parts

        thereof not elsewhere specified or included: Other electric lamps and lighting fittings: Of

        base metal: Other: Other lighting sets[,]”with a duty rate of 3.9% ad valorem.

        Plaintiff contends that the lamps imported during this second period are properly classified

under subheading 8539.50, HTS.

                                     STATEMENT OF FACTS

        In accordance with USCIT R. 56.3, a Statement of Material Facts Not in Dispute is

submitted herewith and is incorporated by reference.

   A. Development of LED Lighting

        LED technology operates by running an electric current through a light-emitting diode

(“LED”) which contains electroluminescent semiconductor material. The electrons coursing

through the semiconductor material (usually a powder or thin film) cause the electroluminescent

material to produce visible light.

        The concept of electroluminescence was first discovered in 1907 by the British scientist

H.J. Round, a radio pioneer who first observed electroluminescence within a solid-state diode. In

1962, Texas Instruments scientists Robert Biard and Gary Pittman patented an LED which used a

gallium arsenide (GaAs) crystal and emitted 890 nm of infrared light. Later that year, General


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Electric Company engineer Nick Holonyak, Jr. created the first practical visible spectrum LED,

which used a Gallium arsenide phosphide (GaAsP) crystal and emitted a deep red light. The first

commercially available LEDs were launched in 1968, but were unpopular because of the deep red

light they generated.1

       During the 1970s, scientists continued to make progress in LED development. General

Electric developed a yellow light LED, and Stanford scientists patented a blue LED in 1976. In

1989, the Cree Company marketed a blue silicon carbide LED, which had low efficiency. 2 In the

1990s, Japanese scientists Isamu Akasaki, Hiroshi Amano and Shuji Nakamura advanced the

development of blue LEDs, including blue-white LEDs, in the process achieving LED lifecycles

of up to 50,000 hours3, or roughly 50 times the life of an incandescent bulb. Ultimately, white

LEDs were developed and perfected by combining other LED colors: 4




       1
        Taryn Engmark, The (Accidential) Invention of the LED, Embedded Computing Design
Magazine (October 20, 2021), https://embeddedcomputing.com/technology/analog-and-
power/the-accidental-invention-of-the-led.
       2
           Id.
       3
           Id.
       4
           Id.

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       The increase in efficiency dramatically improved the cost-saving advantages of LEDs,

causing governments to promote and mandate their use through a combination of energy policies,

regulations and incentives.5 One prominent example of this promotion in the United States is the

ENERGY STAR program, run jointly by the United States Department of Energy (“DOE”), and

the Environmental Protection Agency (“EPA”).6

   As LED technology has replaced and displaced historical incandescent and fluorescent

lighting, the increased flexibility of LED technology has allowed form factors to change. Initially,


       5
           See Corey Graves, Jarvis Lighting, LED Lighting Technology Explained: A
Comprehensive Guide (May 23,2023) https://www.jarvislighting.com/blogs/jarvis-lighting-
insights/led-lighting-
technology#A%20Brief%20and%20Luminous%20History%20of%20Led%20Lighting
       6
           See LED Lighting, U.S. Dep’t of Energy, https://www.energy.gov/energysaver/led-
lighting (last visited June 20, 2024).

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LED lamps or bulbs needed to fit into the luminaires or other fittings which had housed other types

of lamps. As one major LED lamp manufacturer noted:

       From street lamps to industrial applications, LED use goes well beyond screwing
       an LED light into a desk lamp. Historically, retrofit LEDs have often emulated the
       form factor of the lamps they were replacing. Anything out of the ordinary was
       problematic, but this is rapidly changing.

       There are hundreds of millions of fluorescent strips and industrial fixtures installed
       in varying locations and applications throughout North America. LED luminaires
       are replacing these fixtures rapidly, combining aesthetics, high performance and
       slim, modern form factors. Energy cost is easily lowered by up to 25 percent with
       these replacements, and ongoing bulb maintenance is becoming a thing of the past.7

       Standard incandescent and fluorescent light bulbs are size-limited by various form-factors,

such as the heat generated by electrical resistance in an incandescent filament, and the dispersion

of gases in a fluorescent bulb. Also limiting are the wattage ratings of the various luminaires in

which these bulbs are installed.8 But LED lighting can take on diverse sizes and forms. Thus in

the case of LED lighting:

       Adjusting form factors ultimately comes down to achieving the right amount of
       light output from a lighting fixture. While single LEDs might not meet the needs of
       applications that require high luminosity, multiple LEDs can be used effectively in
       arrays. And while the lighting fits the bill, the downside of arrays can include their
       size, their assembly price tag and their level of complexity when trying to match
       correlated color temperature (CCT)9.

       What this means is that while most people think of a light “bulb” as composing uniform

elements in a given size range—e.g., a light source, base for drawing power, and globe—LED



       7
          Avnet, Inc., LEDs and Their Rapidly Changing Form Factor, (March 13, 2017),
https://www.avnet.com/wps/portal/us/resources/article/leds-their-rapidly-changing-form-
factor/#:~:text=LEDs%20and%20Their%20Rapidly%20Changing%20Form%20Factor%201,var
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       8
          See, e.g., Bill Lewis, What Size Light Bulb Can I Use? (June 19, 2022),
https://www.thespruce.com/what-size-light-bulb-to-use-2175029.
       9
           Avnet, Inc., supra note 7.

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“bulbs” consisting of light sources, power-providing drivers and protective caps, may be radically

different in size and shape when compared against traditional incandescent or fluorescent light

bulbs.

   B. Products Involved in this Action

         There are one hundred and sixty-two unique imported products subject to this case. Each

of the imported products contains a LED array. Each of the products creates light by means of an

internal semiconductor that is a LED. When the LED, which is composed of photosensitive

material, is energized by an electrical current, the semiconductor material is stimulated and

energized, resulting in the production of light. The name of the process describing the production

of light by a LED in response to an electrical current is known as electroluminescence. See 56.3

Statement at ¶ 7.

         Target primarily marketed and sold the imported merchandise at its approximately 2,000

retail stores in the United States. Depending on a given product’s specific purpose, it may have

been displayed and sold in numerous different areas of Target retail stores such as houseware, lawn

and garden, or seasonal departments. See 56.3 Statement at ¶ 8.

         Plaintiff has grouped products into various product categories in order to ease the

presentation of plaintiff’s claims and legal analyses, See 56.3 Statement at ¶ 11, as follows:

         1.   LED candles, LED candle sets; tea lights and votive (37 products);
         2.   LED string, icicle and net lights (93 products);
         3.   Table/Desk Lamps; (10 products)
         4.   Nightlight (1 product);
         5.   Solar Path Lights (17 products);
         6.   LED Metal Lanterns (2 products);
         7.   LED Christmas Trees (2 products)

         LED candles, LED candle sets, tea lights, and votive candles provide end users with both

utilitarian and decorative illumination. See 56.3 Statement at ¶ 15. A pillar candle is usually larger



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and more substantial, while a votive or tea light candle is smaller and typically intended for

insertion within a container. Id. These products consist of LED lighting elements, plastic candle

housings, batteries, and a switch. Id. at ¶ 16. Some of the LED candles at issue may also come

with a remote control that can turn the LED lighting element on and off. Id. There are thirty seven

products in this category. There are four solar LED candles contained in various sizes of rattan

housing. Id. at ¶ 14. There are two battery-operated packs of LED tea light candles, one 12-pack

and one 24-pack. Id. There are thirty one individual battery-operated LED candle products. Id.

These products may contain multiple candles, in different sizes and colors, with or without added

scents or timers for indoor or outdoor use. Id.

        LED string lights are LED lighting elements with plastic caps, copper wiring harnesses

with plastic or rubber sheeting, and long wires with LED bulbs arranged along the wire of the

string. Id. at ¶ 24. Alternatively, some of the string lights can be powered by solar energy or

batteries. Id. at ¶ 25. Icicle lights are identical to string lights in concept, but they are designed to

hang in a way that resembles an icicle. Id. at ¶ 28. Net lights are string lights designed to drape

like a net over a bush or other outdoor surfaces, covering larger areas than normal string lights. Id.

at ¶ 29. The majority of the string lights at issue were branded and resold by Philips, a third-party

company, while some were sold under Target’s private label brands Room Essentials and

Wondershop. Id. at ¶ 31. There are ninety three string lights subject to this litigation. Id. at ¶ 22.

        Table/desk lamps are used to provide utilitarian lighting to individuals working or sitting

at a desk or table. Id. at ¶ 37. There is one unique product in this case, which is a clip-on grill light.

Id. Desk lamps consist of an LED lighting element, a plastic or metal base, a plastic or metal neck,

an electrical power cord and plug, and may include task lights. Id. at ¶ 35. Table lamps consist of

an LED lighting element, a plastic or metal base, a plastic or metal body, and an electrical power



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cord and plug. Id. at ¶ 36. Table/desk lamps were sold in Target’s Lighting and Wall Décor

department. Id. at ¶ 38. There are ten table/desk lamps subject to this litigation. Id. at ¶ 33.

Additional pictures of two table/desklamps are found in plaintiff’s 56.3 Statement Ex. G.

         A nightlight is used for illuminative or decorative purposes, specifically to provide local

lighting for safety at night. Id. at ¶ 42. A nightlight consists of an LED lighting element, a plastic

cap, and an electrical plug to connect into the wall. Id. at ¶ 41. The nightlight subject to this

litigation was sold under Target’s private label Circo, which is no longer in use. Id. at ¶ 43. DCPI

XXX-XX-XXXX is the sole nightlight product in this litigation. See 56.3 Statement, Ex. C at Bates

1343.

         The solar path lights are used for utilitarian and decorative illumination on sidewalks,

walkways, pathways, or walking paths. Id. at ¶ 35. The path lights are solar-powered and

automatically turn on when the sun goes down. Id. at ¶ 36. A path light consists of an LED lighting

element, a copper wire harness with rubber or plastic sheeting, a plastic base for insertion into the

soil or ground, a decorative cap, and a solar power source. Id. at ¶ 34. There are 17 path lights

subject to this litigation. Additional Pictures of the solar path lights are included in 56.3 Statement

Ex. D.

         The next category of products is LED metal lanterns. There are two LED metal lanterns

subject to this litigation. Id. at ¶ 37. The metal lanterns consist of an LED lighting element housed

in a plastic or metal lantern with plastic or glass windows and are used to provide utilitarian or

decorative lighting. Id. at ¶ 51. The other lanterns have an LED lighting element built into the

product. The metal lanterns were sold under Target’s private label brand Smith & Hawken and

were sold in the Outdoor Living Department of Target. Id. at ¶ 52.




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                                         RELEVANT STATUTES

        As the instant case involves two different time periods, we set out the relevant statutory

provisions for 2018, and 2014, separately below; and for ease of discussion, our analysis begins

with the goods imported in 2018, and will then address goods imported in 2014:

                     Harmonized Tariff Schedule of the United States (2018)

Chapter 85:

        Statistical Notes:

        8. For statistical reporting purposes under subheading 8539.50.00, the types of light-
        emitting (LED) lamps are defined by American National Standards Institute for Electric
        Lamps as follows:

        (a) ANSI shapes A, BT, P, PS or T described under 8539.50.0010;

        (b) ANSI shapes B, BA, C, CA, DC, F, G or ST described under 8539.50.0020;

        (c) ANSI shapes R, BR or PAR described under 8539.50.0030; or

        (d) ANSI shapes MR11, MR16 or MRX16 described under 8539.50.0040.


8539             Electrical filament or discharge lamps, including sealed beam lamp units and
                 ultraviolet or infrared lamps; arc lamps; light-emitting diode (LED) lamps; parts
                 thereof:

                                               ***
8539.50                 Light-emitting diode (LED) lamps.

Chapter 94

        Notes:

                 1. This Chapter does not cover:

                                                  ***
                        (f) Lamps or lighting fittings of chapter 85;

9405             Lamps and lighting fittings including searchlights and spotlights and parts thereof,
                 not elsewhere specified or included; illuminated signs, illuminated nameplates and
                 the like, having a permanently fixed light source, and parts thereof not elsewhere

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                 specified or included:

                                                   ***

9405.30.00              - Lighting sets of a kind used for Christmas trees

9404.40                 - Other electric lamps and lighting fittings:

                                Of base metal;

9404.40.60                                Other [than brass]

                                                 ***
9404.40.84                                       Other


                     Harmonized Tariff Schedule of the United States (2014)

Chapter 85:

8543             Electrical machines and apparatus, having individual functions, not specified or
                 Included elsewhere in this chapter; parts thereof:

                                               ***
8543.70                 Other machines and apparatus:

                                                 ***
8543.70.71                      Electric luminescent lamps.


Chapter 94

        Notes:

                 2. This Chapter does not cover:

                                                  ***
                        (f) Lamps or lighting fittings of chapter 85;

9405             Lamps and lighting fittings including searchlights and spotlights and parts thereof,
                 not elsewhere specified or included; illuminated signs, illuminated nameplates and
                 the like, having a permanently fixed light source, and parts thereof not elsewhere
                 specified or included:

                                                   ***



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9405.30                - Lighting sets of a kind used for Christmas trees

9404.40                - Other electric lamps and lighting fittings:

                               Of base metal;

9404.40.60                            Other [than brass]

                                                ***
9404.40.84                                      Other



                                   STANDARD OF REVIEW

       Customs’ classification is subject to de novo review pursuant to 28 U.S.C. § 2640.

Summary judgment is appropriate “if the pleadings, depositions, answers to interrogatories, and

admissions on file, together with the affidavits, if any, show that there is no genuine issue as to

any material fact and that the moving party is entitled to judgment as a matter of law.” See USCIT

R. 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

       This Court may resolve a classification issue by means of summary judgment. See Bausch

& Lomb, Inc. v. United States, 148 F.3d 1363, 1365 (Fed. Cir. 1998) (reviewing CBP’s

classification decision de novo on the record made before it, 28 U.S.C. § 2640(a)(1)); see also,

Processed Plastic Co. v. United States, 29 C.I.T. 1129, 1130 n.4 (Ct. Int’l Tr. 2005), aff’d, 473

F.3d 1164 (Fed. Cir. 2006). Where there is no genuine dispute as to any material fact, on a motion

for summary judgment, CBP will not receive the benefit of a presumption of correctness. Id. at

1131, n.5; see also Universal Electronics Inc. v. United States, 112. F.3d 488, 491 (Fed. Cir. 1997).

       As with all classification issues, fundamentally “[t]he court’s duty is to find the correct

result,” Jarvis Clark Co. v. United States, 733 F.2d 873, 878 (Fed. Cir. 1984) (emphasis in

original), and thus, the ultimate question is “whether the merchandise is properly classified under




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one or another classification heading.” Simon Mktg. v. United States, 29 C.I.T. 1111, 1117 (2005)

(citation omitted).

       Determining the correct classification of merchandise entails a two-step process where the

court first construes the relevant classification headings—a purely legal question—and second, the

court determines under which of the properly construed tariff terms the merchandise at issue falls.

Bausch & Lomb, 148 F.3d at 1365; Pillowtex Corp. v. United States, 171 F.3d 1370, 1373 (Fed.

Cir. 1999). Where the nature of the merchandise is not at issue, the question collapses entirely into

a question of law ripe for disposition on summary judgment. Cummins Inc. v. United States, 454

F.3d 1361, 1363 (Fed. Cir. 2006) (citations omitted).

       In determining whether a genuine issue of fact exists, the court reviews the evidence

submitted and draws all inferences against the nonmoving party. United States v. Pan Pac. Textile

Group Inc., 27 C.I.T. 925, 927 (2003); see also, Matsushita Elecs. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986). But even if there are “differences in the factual positions

advanced by each party,” summary judgment is appropriate unless there are “genuine issues of

material fact in dispute.” Chevron Chem. Co. v. United States, 59 F. Supp. 2d 1361, 1363 (Ct. Int’l

Tr. 1999).

                                          ARGUMENT

I.     The Imported LED Products Imported After January 1, 2017, are Properly
       Classified in Heading 8539.50, HTSUS.

       The imported LED products imported after January 1, 2017, are provided for eo nomine in

heading 8539.50, HTSUS, and CBP erred in classifying them in liquidation under heading, 9405,

HTSUS.

       “To determine the meaning of an HTSUS provision, the court applies the GRIs in

numerical order, beginning with GRI 1 and reaching subsequent GRIs if analysis under the

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preceding GRI does not yield proper classification of the subject merchandise.” Amcor Flexibles

Kreuzlingen AG v. United States, 560 F. Supp. 3d 1326, 1330 (Ct. Int’l Tr. 2022). Under GRI 1,

“classification shall be determined according to the terms of the headings and any relative section

or chapter notes.” “A court first construes the language of the heading, and any section or chapter

notes in question.” Orlando Food Corp. v. United States, 140 F.3d 1437, 1440 (Fed. Cir. 1998).

“Absent contrary legislative intent, HTSUS terms are to be construed according to their common

and commercial meanings, which are presumed to be the same.” Carl Zeiss, Inc. v. United States,

195 F.3d 1375, 1379 (Fed. Cir. 1999). In interpreting the terms of a tariff provision “[a] court may

rely upon its own understanding of the terms used and may consult lexicographic and scientific

authorities, dictionaries, and other reliable information sources.” Id.

       Classification of the subject merchandise is further dictated by the canon of statutory

construction that, absent a clearly expressed Congressional intent, an eo nomine provision for an

article covers all forms of the named article. An eo nomine designation is one which describes a

commodity by a specific name, usually one well known in commerce. United States v. Bruckmann,

65 C.C.P.A. 90 (1978). Eo nomine designations are to be construed according to their common

and commercial meanings, which are presumed to be the same. Outer Circle Products Inc. v.

United States, 602 F. Supp. 2d 1294, 1306 (Ct. Int’l Trade 2009). Of prime importance here, an

eo nomine designation, absent contrary legislative intent, is to be interpreted to include all forms

of the named article. Nootka Packing Co. v. United States, 22 C.C.P.A. 464, 470 (1935); Crosse

& Blackwell Co. v. United States, 36 C.C.P.A. 33, 35 (1948); T.M. Duche & Sons, Inc. v. United

States, 44 C.C.P.A. 60, 63 (1957); Sabritas v. United States, 22 C.I.T. 59, 63 (1998).

       The subheading 8473.70.71, HTSUS, provision for “electro-luminescent lamps” was an

effort by the drafters of the HTSUS to create a specific provision covering LED lighting products



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and to assign them a duty rate of 2% ad valorem. As the Federal Circuit indicated in Gerson, this

effort foundered on the shoals of judicial interpretation of the tariff. While the parties in Gerson

agreed that the products were “lamps” and functioned through electroluminescence, the placement

of subheading 8543.70.70 subordinate to a four-digit tariff heading covering “electrical machines

and apparatus” (a phrase which the Gerson Court conceded was “not free of ambiguity,” 898 F.3d

at 1236)–-led that Court to limit application of the provision. Relying on definitions from

Webster’s New World College Dictionary 67 (4th ed. 2009), the court noted that “apparatus”

referred to “any complex device or machine for a specific use,” and that “machine” meant “a

structure consisting of a framework and various fixed and moving parts, for doing some kind of

work” and “any device thought of as functioning in such a way, as … an electronic computer”).10

       The enactment of subheading 8539.50, HTSUS, eliminates the problems the Gerson court

detected with subheading 8543.70.71, HTTSUS. It provides eo nomine for “light-emitting diode

(LED) lamps”, and is positioned below a four-digit heading (heading 8539, HTSUS) which also

specifies “LED lamps,” as within its coverage. Classification under this provision is not dependent

on the lamps being considered “electrical machines or apparatus.”

       In discerning the meaning of a tariff provision, resort to the WCO Explanatory Notes is not

binding, but helpful.11 In this regard, the ENs to Chapter 85 provide that:



       10
           The Canadian International Trade Tribunal (“CITT”) reached a similar conclusion in
interpreting subheading 8543.70 of Canada’s Customs Tariff. See Liteline Corp. v. President of
the Canada Border Services Agency, AP-2014-029 (2016).
       11
          Explanatory Notes are “generally indicative of the proper interpretation of a tariff
provision.” Agfa Corp. v. United States, 520 F.3d 1326, 1239 (Fed. Cir. 2008) (citation omitted).
“Unlike Chapter Notes, Explanatory Notes are not legally binding.” Deckers Outdoor Corp. v.
United States, 714 F.3d 1363, 1367 n. 1 (Fed. Cir. 2013). However, “the Explanatory Notes are
persuasive authority for the court when they specifically include or exclude an item from a tariff
heading.” H.I.M./Fathom Inc. v. United States, 21 C.I.T. 776, 779 (1997); see also BASF Corp. v.
United States, 30 C.I.T. 227 (2006), aff’d, 497 F.3d 1309 (Fed. Cir. 2007).

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       This Chapter covers … (6) Certain electrical goods not generally used
       independently, but designed to play a particular role as components, in electrical
       equipment, e.g., capacitors (heading 85.32), switches, fuses, junction boxes, etc.
       (heading 85.35 or 85.36), lamps (heading 85.39), thermionic, etc., valves and tubes
       (heading 85.40), diodes, transistors and similar semiconductor devices (heading
       85.41), electrical carbons (heading 85.45).

The language “not generally used independently” admits of the possibility that some electrical

goods used independently nonetheless fall within the Chapter. The ENs for Heading 85.39 provide

that “The heading covers filament lamps, gas or vapour discharge lamps, arc-lamps and light-

emitting diode (LED) lamps.”

       With respect to LED lamps, the ENs indicate that the coverage of the Heading is intended

to be broad:

                       (F) LIGHT-EMITTING DIODE (LED) LAMPS

       The light from these lamps is produced by one or more light-emitting diodes
       (LED). These lamps consist of a glass or plastic envelope, one or more light-
       emitting diodes (LED), circuitry to rectify AC power and to covert voltage to a
       level useable by the LEDs, and a base (e.g., screw, bayonet or bi-pin type) for fixing
       in the lamp-holder. Certain lamps may also contain a heat sink.

       These lamps are of various shapes, e.g., spherical (with or without a neck); pear or
       onion shaped; flame shaped; tubular (straight or curved); special fancy shapes for
       illuminations, decorations, Christmas trees, etc.

       The enactment of subheading 8539.50, HTSUS, effective January 1, 2017, changes the

classification of LED lighting in several meaningful ways:

        The lamps no longer need to meet the definition of “machines” or “apparatus”;

        These lamps are squarely excluded from classification under Chapter 94,
         HTSUS by operation of Note 1(f) to Chapter 94.

       What remains is to determine the meaning of the word “lamp” as used in Heading 8539,

and in subheading 8539.50, which provides for:




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       Electrical filament or discharge lamps, including sealed beam lamp units and
       ultraviolet or infrared lamps; arc lamps; light-emitting diode (LED) lamps; parts
       thereof: Light-emitting diode (LED) lamps.

The HTSUS does not define “lamps,” for purposes of classification. Where a specific term is not

defined in the tariff, Customs and the Courts may consult dictionaries and other sources to

determine their correct meaning. Mita Copystar Am. v. United States, 21 F.3d 1079, 1082 (Fed.

Cir. 1994) (“the term’s correct meaning is its common meaning.”) The common meaning of a term

used in commerce is presumed to be the same as its commercial meaning. Simod Am. Corp. v.

United States, 872 F.2d 1572, 1576 (Fed. Cir. 1989). To ascertain the common meaning of a term,

a court may consult “dictionaries, scientific authorities, and other reliable information sources”

and “lexicographic and other materials.” C.J. Tower & Sons v. United States, 673 F.2d 1268, 1271

(C.C.P.A. 1982); Simod, 872 F.2d at 1576. The common meaning of a term is a question of law,

rather than a question of fact. See e.g., C.J. Tower & Sons v. United States, 69 C.C.P.A. 128 (1982);

Cont’l Auto Sys. v. United States, 589 F. Supp. 3d 1215 (Ct. Int’l. Tr. 2022).

       Customs has already defined LEDs in previous rulings, namely as “ … semiconductor

diodes, electronic devices that permit current to flow in only one direction. The diode is formed

by bringing two slightly different materials to from a PN junction”; or as “a semiconductor diode

that emits light when a voltage is suitably applied.” See Customs Headquarters Ruling H024878

of March 31, 2010; Customs Headquarters Ruling H024876 of March 31, 2010 (LED modules for

promotional buttons and displays); Customs Headquarters Ruling H095035 of March 31, 2010

(LED light set for bike handlebars); Customs Headquarters Ruling H024874 of March 31, 2010

(various LED modules); Customs Headquarters Ruling H042586 of January 29, 2009 (fiber optic

lamp). It is accepted that all the merchandise in question are considered semiconductor devices




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that permit the flow of electric current through the formation of a PN junction. The next issue to

address then is the definition of “lamp” for the purpose of classifying these goods as “LED lamps.”

       Such common understanding is also provided in numerous dictionary sources defining

lamp consistently as:

       any of various devices for producing light or sometimes heat: such as

                 (1): a vessel with a wick for burning an inflammable liquid (such as oil) to
                 produce light

                 (2): a glass bulb or tube that emits light produced by electricity (such as
                 an incandescent light bulb or fluorescent lamp)

See    Merriam-Webster         Dictionary,    definition        of   “lamp,”     Merriam-Webster.com,

https://www.merriam-webster.com/dictionary/lamp (last accessed June 20, 2024):

       A device for giving light, either one consisting of an electric bulb together with its holder
       and shade or cover, or one burning gas or oil and consisting of a wick or mantle and a
       glass shade.
See   English     Oxford     Dictionaries,   definition    of    “lamp,”   en.ocofrddictionariyes.com.

https://en.oxforddictionaries.com/definition/lamp (last accessed June 20, 2024):

       A lamp is a light that works by using electricity or by burning oil or gas.
See    Collins     English     Dictionary,    definition        of   “lamp,”     CollinsDictionary.com,

https://www.collinsdictionary.com/dictionary/english/lamp (last accessed June 20, 2024).

       The common element in all these definitions is the description of a device that emits light.

This aligns with Customs’ description of a lamp as “a device which provides an isolated source of

heat or light.” Customs Headquarters Ruling H024876 of March 31, 2010 (LED modules for

promotional buttons and displays); Customs Headquarters Ruling H095035 of March 31, 2010

(LED light set for bike handlebars); Customs Headquarters Ruling H024874 of March 31, 2010

(various LED modules); ); Customs Headquarters Ruling H042586 of January 29, 2009 (fiber



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optic lamp); and Customs Headquarters Ruling H966952 of August 18, 2004 (litecube). These

rulings illustrate the variety of shapes and forms LED “lamps” can take, including litecubes,

modules for buttons, and lights for bicycle handlebars. As mentioned earlier, LED technology

enables the production of LED lights and “bulbs” in a much wider array of sizes, shapes, and forms

compared to traditional incandescent or fluorescent lamps.

         This Court recently had the opportunity to determine the common meaning of the term

“lamp” in Trijicon Inc. v. United States, 2024 Ct. Int’l Tr. LEXIS 18 (2024), where the Court

noted:

         It is clear from the definition of lamp and the description of the subject imports that
         the subject imports are readily classified as lamps. A lamp is “any of various
         devices for producing light.” Def.’s Ex. 7 (quoting Lamp, Webster’s New World
         College Dictionary (3d ed. 1988)). It is undisputed that the subject imports produce
         illumination. Pl.’s SOF ¶ 26; see Def.’s Resp. to Pl.’s SOF ¶ 26 (admitting in
         relevant part). The Explanatory Note confirms that lamps “can be constituted of
         any material … and use any source of light.” Def.’s Ex. 8 at XX-9405-1. Thus, a
         lamp can readily include one that involves beta radiation. It makes no difference
         that the Explanatory Notes do not specify tritium-powered lamps because the list is
         exemplary, not exhaustive. Moreover, Trijicon regularly refers to the subject
         imports as tritium lamps in various documents within the organization and with
         government agencies. See Def.’s Confid. Exs. 2-5, ECF Nos. 32-4, 32-5, 32-6, 32-
         7. At least one science journal also refers to the item used to illuminate the aiming
         point of a gun as a “lamp.” See Def.’s Ex. 7 (reproducing Gunsights, McGraw-Hill
         Encyclopedia of Sci. and Tech. at 305 (9th ed. 2002) (“ … the reticle may be
         illuminated by a small lamp to permit night use.”). Meanwhile, Trijicon’s averment
         that the “general public” would not consider the subject imports to be lamps is
         unsupported. The documented usage of the term “lamp” to describe the subject
         imports suggests that they meet the “common and commercial meaning[]” of
         lamps. See Carl Zeiss, 195 F.3d at 1379.

         Courts have given a broad definition of the common meaning of the term “lamp” as used

in the HTSUS. See e.g., Primal Lite v. United States, 182 F.3d 1362 (Fed. Cir. 1999) (lights in

strings); Trujicon, supra (term “lamp” includes both radiation and non-radiation powered lamps;

Russ Berrie & Co., v. United States, 329 F. Supp. 3d 1345 (Ct. Int’l Tr. 2018) (term covers




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electrical and non-electrical lamps); Trumpf Med. Sys. v. United States, 34 C.I.T. 1404 (2010)

(term includes specialized surgical lamps).

       It is a natural presumption that identical words used in different parts of the same law are

intended to have the same meaning. Sorensen v. Sec’y Treasury, 475 U.S. 851, 860 (1986); Phila.

Energy Sols. Refin & Mktg. LLC v. United States, 89 F.4th 1364 (Fed. Cir. 2024); Dofasco Inc. v.

United States, 31 C.I.T. 1592 (2007). The same rule applies to the construction of tariff schedules.

Norman G. Jensen v. United States, 84 Cust. Ct. 76 (1980). There is no legislative intent for the

term “lamp”—as used in subheading 8539.50, HTSUS—to be interpreted more narrowly than in

Heading 9405, HTSUS.

       Considering the above-definitions of the term “lamp,” all subject LED products, from all

categories, are devices that give off light or provide an isolated source of light. Such devices are

commonly known and referred to as “lamps,” and are therefore provided for eo nomine under

subheading 8539.50, HTSUS.

       Similar LED lamps have been classified by Customs under subheading 8539.50, HTSUS.

Specifically, in New York Ruling Letter N299720 of August 13, 2018, Customs classified

Christmas LED replacement C-9 bulbs under 8539.50.0020. Likewise, in New York Ruling Letter

N297843 of June 29, 2018, Customs classified street LED lamps consisting of a LEDs, PCBs, and

plastic lens under subheading 8539.50.0090, HTSUS, as other LED lamps.

       The next question is whether the term “lamp” as used in the HTSUS, encompasses not

merely light bulbs, but light bulbs in lamp holders which are connected by electrical wiring and

use electrical connectors. The answer is clearly “yes.” Customs has consistently classified light

strings, featuring various lights in lamp holders, connected by electrical conductors, and featuring

male- and female- plugs, under tariff provisions providing for “lamps.” See e.g., Customs



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Headquarters Ruling H254047 of November 4, 2014; New York Ruling N286276 of June 6, 2017;

New York Ruling N289194 of March 23, 2017; New York Ruling N280074 of October 25, 2016;

New York Ruling N262787 of April 7, 2015. As Customs explained, in Customs Headquarters

Ruling H024762 of December 12, 2014 (emphasis added):

       CBP has previously determined that a “lamp” is a device which provides an isolated
       source of heat or light. See Headquarters Ruling Letter (HQ) H024878, (LED
       module for ornaments); HQ H024876, (LED modules for promotional buttons and
       displays); HQ H095035, (LED light set for bike handlebars); HQ H024874,
       (various LED modules); HQ H042586, dated January 29, 2009 (fiber optic lamp);
       HQ 966952 , dated August 18, 2004 (litecube); and HQ 965248 , dated July 26,
       2002 (bubble lights). See also The Random House College Dictionary (1973) at
       752; Webster’s New Collegiate Dictionary (1979) at 639.

Thus, the subject LED products are lamps and clearly fall under subheading 8539.50, HTSUS—

an eo nomine provision for “light-emitting diode (LED) lamps.” In the absence of a contrary

legislative intent, an eo nomine provision covers all forms of the article described. See Aromont

USA Inc. v. United States, 671 F.3d 1310, 1312 (Fed. Cir. 2012); Second Nature Designs Ltd. v.

United States, 660 F. Supp. 3d 1352, 1366 (Ct. Int’l Tr. 2023).

       The enactment of subheading 8539.50, HTSUS, also serves to eliminate from consideration

subheading 8543.70.71—a provision for “electric luminescent lamps.” That provision only covers

articles “not specified or included elsewhere in this chapter,” meaning that once LED lamps were

explicitly described in subheading 8539.50, this precluded classification under subheading

8543.70.71, HTSUS.12




       12
          For the same reason, the decision of the Federal Circuit in Gerson Co. v. United States,
(Fed. Cir. 2018), has no bearing on the instant matter. In Gerson, the Court held that certain LED
candles were more properly classified in heading 9405, HTSUS, than in subheading 8543.70.71,
HTSUS. However, at the time of the relevant facts in Gerson, subheading 8539.50, HTSUS, had
not been enacted. The Court noted that classification under a different provision in Chapter 85,
HTSUS, was not precluded.

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       The classification of the products at issue under subheading 8539.50, HTSUS, precludes

classification under Heading 9405, HTSUS. To be sure, Chapter 94, HTSUS, contains numerous

provisions for lamps. However, once it is established that Target’s imported article is an LED lamp

of subheading 8539.50, HTSUS, consideration of Chapter 94 provisions are clearly precluded by

Note 1(f) to Chapter 94, HTSUS. The note reads that Chapter 94 “does not cover: … Lamps or

light fittings of Chapter 85”). As such it is impossible for CBP’s liquidation classification to apply

to the imported LED products.

        Even if, arguendo, Note 1(f) to Chapter 94 were not operative here, we note that Under

GRI 1, Heading 9405 only covers “lamps and lighting fittings” which are “not elsewhere specified

or included.” The inclusion of these items eo nomine in subheading 8539.50 eliminates the

possibility of classification in Heading 9405. The LED products imported after January 1, 2017,

are properly classified under subheading 8543.70.70, HTSUS.13


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   The fact that subheading 8539.50, HTSUS, is not confined to bulbs can be inferred from
amendments to the Harmonized System nomenclature adopted by the World Customs
Organization effective January 1, 2022 (which do not apply to this case). As of January 1, 2022,
the six-digit subheading 8539.50 for “light emitting diode (LED) lamps” was split into two new
subheadings:

       Light-Emitting Diode (LED) Light Sources:
               8539.51         Light-Emitting Diode (LED) Modules
               8539.52         Light-Emitting Diode (LED) Lamps
The changes to the Harmonized System Explanatory Notes also clarify the distinction between
lamps and modules:

       Light-emitting diode (LED) modules, which are electrical light sources based on light-
       emitting diodes (LED) arranged in electrical circuits and continuing further elements like
       electrical, mechanical, thermal or optical elements. They also contain discrete active
       elements, discrete passive elements, or articles of heading 85.36 or 85.42 for the purposes
       of providing power supply or power control. Light-emitting diode (LED) modules do not
       have a cap designed to allow easy installation or replacement in a luminaire and ensure
       mechanical and electrical contact.
The Explanatory Notes further clarify:
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       Thus, with respect to subject articles imported after January 1, 2017, there should be no

dispute that all subject LED lighting products qualify for classification as “light emitting diode

(LED) lamps,” of subheading 8539.50, HTSUS.

       The creation of a provision for “light emitting diode (LED) lamps” in subheading 8539.50,

HTSUS, makes the Gerson decision, and the analysis therein, irrelevant. Indeed, the Gerson Court

itself admitted that the availability of a classification in heading 8539 would change its analysis:

       Given that heading 8543 does not refer to “lamps,” it is questionable whether the
       plain language of heading 9405 and chapter 94’s Note 1(f)—which each exclude
       from chapter 94’s scope only “lamps” specified elsewhere—preclude classification
       of Gerson’s lamps in heading 9405. In contrast to heading 8543, headings 8513
       (certain “[p]ortable electric lamps designed to function by their own source of
       energy”) and 8539 (“[e]lectrical filament or discharge lamps, including sealed beam
       lamp units and ultraviolet or infrared lamps; arc lamps”) do refer to “lamps.”
       Gerson does not argue on appeal that its candles are classifiable under either of
       these headings, however.

Gerson Co. v. United States, 898 F.3d 1232, n.3 (Fed. Cir. 2018). Here, the four-digit Heading

8539, and the six digit subheading 8539.50, each contain the phrase “lamps.” Thus, Note 1(f) to

Chapter 94 plainly excludes LED lamps imported after January 1, 2017, from classification in

Chapter 94, HTSUS.




       The distinction between light-emitting diode (LED) modules and light-emitting diode
       (LED) lamps is that lamps have a cap designed to allow easy installation or replacement in
       a luminaire and ensure mechanical and electrical contact.
The division of subheading 8539.50 in this manner indicates that the replaced provision previously
covered both LED light sources intended for luminaire installation and modular-style LED light
sources.


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II.    Some LED Lamps Imported Prior to January 1, 2017, are Classifiable Under
       Subheading 8543.70.70, HTSUS

       The next question is whether Gerson precludes all LED lamps imported prior to the

enactment of subheading 8539.50, HTSUS (and the concomitant change in the four-digit heading),

from being classified in Chapter 85, HTSUS. We submit it does not, and that the decision is binding

on this Court only with respect to “votive”-type lights of the kind at bar in Gerson.

       In Gerson, the Court noted that Note 1(f) to Chapter 94, HTSUS, excluded from coverage

therein “lamps or lighting fittings of Chapter 85.” Gerson Co. v. United States, 898 F.3d 1236

(Fed. Cir. 2018). It concluded that Note 1(f) did not exclude LED lights from classification under

Chapter 94 largely because the word “lamp” did not appear in the text of the four-digit tariff

heading 8543, HTSUS. And yet the parties in Gerson, and the Court, were in apparent agreement

that the products at issue were “lamps” in common meaning (a fact corroborated by the Court and

Customs decisions defining “lamps” noted above). At the heart of the Gerson opinion is the notion

that, where a Chapter Note excludes a named article or class of articles, those named articles must

be specifically mentioned in the text of a tariff provision in order for the exclusionary note to be

operative. We have found no authority for this extraordinary proposition.

       Exclusionary Chapter Notes may designate excluded articles by general description. See

e.g., Note 1(a) to Chapter 85, HTSUS (excluding from the chapter “Electrically warmed blankets,

bed pads, foot-muffs or the like; electrically warmed clothing, footwear or ear pads or other

electrically warmed articles worn on or about the person”). Others may exclude articles based on

description, tied to a tariff classification, without providing a definition for the described article

(see e.g., Chapter 85, Note 1(e) (excluding from the Chapter “Electrically heated furniture of

chapter 94.”).   In some cases, an exclusionary Chapter Note may tie the exclusion to the

classification of the excluded good in a particular HTSUS heading (see e.g., Chapter 85, HTSUS

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note 1(b) (excluding “Articles of glass of heading 7011.”)). In these cases, it falls to the reviewing

court to determine the common meaning of the described, but not defined term. See e.g., Kalle

USA Inc. v. United States, 923 F.3d 991 (Fed. Cir. 2019) (terms in the HTSUS must be defined

according to their common and commercial meaning); see also, La Crosse Tech. v. United States,

723 F.3d 1353, 1358 (Fed. Cir. 2013); Carl Zeiss Inc. v. United States, 195 F.3d 1375, 1379 (Fed.

Cir. 1999).

       In this case, as in Gerson, there is agreement that Target’s articles are within the common

meaning of the term “lamps.” Thus, the nature of the goods excluded from classification in

Chapter 94 is agreed. The other requirement of the exclusionary note is that the lamps be “of

Chapter 85.” At all relevant times here, the lamps—specifically “electric luminescent lamps”—

were in fact described and provided for eo nomine in Chapter 85 within subheading 8543.70.70.

That should have ended the inquiry altogether as to the effect of Note 1(f) to Chapter 94

becauseelectric luminescent lamps, being provided for in Chapter 85, could not be classified in

Chapter 94.

       However, the Gerson Court went a step further in its analysis, which was unnecessary. It

did not concentrate on whether any of the lights specified in Heading 9405, HTSUS, could have

been classified under subheading 8543.70.70. Clearly, unless these lights were “electric

luminescent lamps,” they would not fit into that subheading. The CIT in Gerson acknowledged

that the products in question were “lamps” and could also plausibly be considered “electrical

machines and apparatus.” Gerson, 254 F. Supp. at 1276. The CIT instead examined whether some

lights described in heading 9405, HTSUS, might be classified under a different provision,

specifically subheading 8543.70.96, HTSUS, which covers “Other” “Electrical machines and

apparatus, having individual functions, not specified or included elsewhere in this chapter.” This



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analysis was unnecessary for applying the exclusion set forth in Chapter 94, Note 1(f), which only

requires that the excluded lamps be classified under “Chapter 85” without specifying a particular

tariff classification.

        It is analysis, the Gerson court violated two important canons of tariff and statutory

construction. First, it disregarded GRI 1 to the HTS, which provides:

        The table of contents, alphabetical index, and titles of sections, chapters and sub-
        chapters are provided for ease of reference only; for legal purposes, classification
        shall be determined according to the terms of the headings and any relative section
        or chapter notes and, provided such headings or notes do not otherwise require,
        according to the following provisions:

(Emphasis added). The effect of the Gerson Court’s interpretation was to focus solely on the terms

of the headings, and to disregard the relevant Chapter Note, namely Chapter 94, Note 1(f). It is

well-established that a court cannot interpret an exclusionary note in disregard of the context of

the exclusion as a whole. See Kalle USA v. United States, 923 F.3d 991 (Fed. Cir. 2019); Rubie’s

Costume Co. v. United States, 337 F.3d 1357 (Fed. Cir. 2003).

        Second, the Gerson Court’s interpretation violated the canon of statutory construction that

a statute should not be interpreted in a way that renders it nugatory. See e.g., United States v. UPS

Customs Brokers Inc., 30 C.I.T. 1612 (2006); C.J. Tower & Sons of Niagara Inc., v United States,

52 Cust. Ct. 14 (1964).14 While the Gerson Court drew narrow distinctions based not on the

statutory terms themselves, but on the greater “context” surrounding them, it violated important

rules of statutory construction in the process. It interpreted subheading 8543.70.70, HTSUS, in

such a way as to render it devoid of content and ensuring that absolutely no merchandise could be

classified therein. It is a bedrock rule of statutory construction that a court “is obligated not only



        14
          This was not an issue in the CITT’s Liteline case, supra note 10, since Canada’s Customs
Tariff did not contain descriptive language similar to that of subheading 8473.70.70, HTSUS.

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to construe the statute as a whole but to give meaning to each word of the statute”. AFL-CIO v.

Chao, 409 F.3d 377, 384 (D.C. Cir. 2005); see also Alaska Dep't of Envtl. Conservation v. EPA,

540 U.S. 461, 489 (2004); Asiana Airlines v. FAA, 134 F.3d 393, 398 (D.C. Cir. 1998). The Gerson

Court not only emptied subheading 8543.70.70, HTSUS, of content and meaning, but disregarded

Note 1(f) to Chapter 94 in the process despite the Note’s preclusion of lamps provided for in

Chapter 85 from classification within Chapter 94.

        While this Court is constrained by the Gerson decision with respect to the specific class of

merchandise involved therein—i.e., LED votives and candles—the decision should not be applied

to other products of the type which Target has imported. Those goods unquestionably meet the

definition of “electric luminescent lamps” in subheading 8543.70.70, HTSUS, and should be

classified therein.

        These lights are all classifiable as “Electric Luminescent Lamps,” of subheading

8543.70.70, HTSUS, because they produce luminescence as a result of energy being delivered

through a semi-conductive material. Subheading 8543.70.70, HTSUS, provided at relevant times

as follows:

        8543    Electrical machines and apparatus, having individual functions, not
                specified or included elsewhere in this chapter; parts thereof:

                8543.70        Other machines and apparatus:

                8543.70.70            Electric luminescent lamps.

Subheading 8543.70.70, HTSUS, is an eight digit “national” or “duty-rate” subheading that is

unique to the HTSUS, and is not part of the six-digit international Harmonized Commodity

Description and Coding System (“HS”) tariff nomenclature on which the U.S. tariff is based. It

was added to the HTSUS by Presidential Proclamation 8097 in 2007. See Proclamation No. 8097,

72 Fed. Reg. 453 (Jan. 4, 2007); see also Modifications to the Harmonized Tariff Sched. Of the

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United States under Sec. 1206 of the Omnibus Trade and Competitiveness Act of 1988 annex I, at

133, USITC Pub. No. 3898 (Dec. 2006). Subheading 8543.70.70, HTSUS, is part of the legal text

of the HTSUS, and considered to be “statutory law for all purposes.” 19 U.S.C. § 3004(c)(1). LEDs

are basic semiconductor devices that fit the description of “electrical machinery or apparatus,” and

are provided for eo nomine in Heading 8541. Although it is a national level subheading, it is

undoubtedly part of the HTSUS, and it would be error for this Court to disregard it in determining

the scope of the exclusionary language in Note 1(f) to Chapter 94, HTSUS.

       The subject goods are lamps that contain internal LEDs that modify power transmitted

from an internal battery, or external electrical current sources, to illuminate. Such illumination

demands strict cooperation between interrelated parts—e.g., cathodes, anodes, diffusers—each of

which, in isolation, would be wholly incapable of performing the intended work, namely

illumination. The useful traits of the articles are accomplished by direct virtue of the LED’s basic

semiconductor properties, which emit light by exciting electrons rather than by producing heat—

i.e., “incandescence” describes light emitted by a solid that has been heated until it glows or

radiates light (cf. “luminescence” describes low temperature light emission.). Because the articles’

illuminative properties are controlled by the semiconductor properties of the LED, no light

emission would be possible if the products at issue did not function as an “electrical machine or

apparatus.”




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                                            CONCLUSION

        For the reasons set out herein, Plaintiff submits that summary judgment should be entered

in its favor and its protests sustained.

                                                   Respectfully submitted,

                                                   NEVILLE PETERSON LLP
                                                   Counsel for Plaintiff


                                                   /s/ John M. Peterson
                                                   John M. Peterson
                                                   Richard F. O’Neill
                                                   Patrick B. Klein
                                                   One Exchange Plaza
                                                   55 Broadway, Suite 2602
                                                   New York, NY 10006
                                                   (212) 635-2730
                                                   jpeterson@npwny.com
Dated: June 20, 2024




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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. LISA W. WANG, JUDGE
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--------------------------------------------------------------------
                                                                      :
TARGET GENERAL MERCHANDISE, INC.
                                                                      :
                                                                      :
                  Plaintiff,
                                                                      :
                                                                      :   Consol. Court No. 15-69
                  v.
                                                                      :
                                                                      :
UNITED STATES OF AMERICA
                                                                      :
                  Defendant.
                                                                      :
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                                                                     -X


                               CERTIFICATE OF COMPLIANCE

        Pursuant to the U.S. Court of International Trade Standard Chambers Procedures, and in

reliance upon the word count feature of the word processing program used to prepare the instant

Memorandum, I, Patrick B. Klein, of Neville Peterson LLP, who is responsible for the instant

Memorandum, certify that it contains 8,434 words.


                                                         Respectfully submitted,

                                                         /s/ Patrick B. Klein
                                                         Patrick B. Klein
